            Case 3:15-cv-00044-CAR Document 1 Filed 04/14/15 Page 1 of 9




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                            ATHENS DIVISION

BRIAN GREEN,                             )
                                         )
                     Plaintiff,          )
                                         )
       v.                                )     CIVIL ACTION NO. 3:15-CV-44
                                         )
COMMERCIAL RECOVERY                      )
SYSTEMS, INC.,                           )
                                         )
                     Defendant.          )

                                    COMPLAINT

       NOW COMES the plaintiff, BRIAN GREEN, by and through his attorneys,

FORTAS LAW GROUP, LLC., and for his Complaint against the defendant,

COMMERCIAL RECOVERY SYSTEMS, INC., the plaintiff states as follows:

                           I.     PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the

Fair Debt Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et

seq.

                            II.    JURISDICTION & VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., and

pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1337.

       3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b).
                                       Page 1 of 9
           Case 3:15-cv-00044-CAR Document 1 Filed 04/14/15 Page 2 of 9




                                     III.   PARTIES

      4.       BRIAN GREEN, (hereinafter, “Plaintiff”) is an individual who was at

all relevant times residing in the City of Monroe, County of Walton, State of

Georgia.

      5.       The debt that Plaintiff was allegedly obligated to pay was a debt

allegedly originally owed by Plaintiff to Union Acceptance Company (hereinafter,

“the Debt”).

      6.       The debt that Plaintiff allegedly owed Union Acceptance Company

was for an auto loan, the funds from which were used to purchase a vehicle for the

for the personal use of Plaintiff.

      7.       Upon information and belief, National Credit Adjusters (hereinafter,

“NCA”) purchased, acquired and/or otherwise obtained the debt for the purpose of

collection from Plaintiff.

      8.       Upon information and belief, NCA placed the Debt with Commercial

Recovery Systems for the purpose of collection from Plaintiff.

      9.       At all relevant times, Plaintiff was a “consumer” as that term is

defined by 15 U.S.C. §1692a(3).




                                        Page 2 of 9
         Case 3:15-cv-00044-CAR Document 1 Filed 04/14/15 Page 3 of 9




      10.    COMMERCIAL           RECOVERY             SYSTEMS,   INC.,     (hereinafter,

“Defendant”) is a business entity engaged in the collection of debt within the State

of Georgia. Defendant’s principal place of business is located in the State of

Texas. Defendant is incorporated in the State of Texas.

      11.    The principal purpose of Defendant’s business is the collection of

debts allegedly owed to third parties.

      12.    Defendant regularly collects, or attempts to collect, debts allegedly

owed to third parties.

      13.    During the course of its efforts to collect debts allegedly owed to third

parties, Defendant sends to alleged debtors bills, statements, and/or other

correspondence via the mail and/or electronic mail and initiates contact with

alleged debtors via various means of telecommunication, such as the telephone and

facsimile.

      14.    At all relevant times, Defendant acted as a debt collector as that term

is defined by 15 U.S.C. §1692a(6).

      15.    At all relevant times, Defendant acted through its duly authorized

agents, employees, officers, members, directors, heirs, successors, assigns,

principals, trustees, sureties, subrogees, representatives, and insurers.




                                         Page 3 of 9
         Case 3:15-cv-00044-CAR Document 1 Filed 04/14/15 Page 4 of 9




                                 IV.    ALLEGATIONS

      16.      On or about February 10, 2015, Defendant initiated a telephone call to

Plaintiff’s ex-wife.

      17.      During the course of the aforementioned telephone call, Defendant

stated that she was attempting to speak with Plaintiff regarding documents attached

to Plaintiff’s social security number and Defendant proceeded to disclose

Plaintiff’s social security number to Plaintiff’s ex-wife. Defendant further stated

that it was “imperative” that Plaintiff call Defendant and that “she could not stress

the urgency of this call enough.”

      18.      During the course of the aforementioned telephone call, Defendant’s

representative did not state that she was calling to confirm or correct location

information.

      19.      During the course of the aforementioned telephone call, Defendant

disclosed that it was attempting to collect a debt from Plaintiff.

      20.      Plaintiff’s ex-wife did not request that she be contacted by Defendant.

      21.      Plaintiff did not consent to Defendant contacting third parties.

      22.      Plaintiff’s ex-wife relayed to Plaintiff the contents of the call from

Defendant.




                                       Page 4 of 9
         Case 3:15-cv-00044-CAR Document 1 Filed 04/14/15 Page 5 of 9




      23.     On or about February 10, 2015, Defendant initiated a telephone call

to Plaintiff in an attempt to collect the Debt.

      24.     During the course of the aforesaid telephone call with Plaintiff,

Defendant stated that if Plaintiff did not pay the Debt, it would “get the IRS

involved.”

      25.     During the course of the aforesaid telephone call with Plaintiff,

Defendant stated that if the Debt was not paid by “noon on the 11 th, a lawsuit and

other action would be taken.”

      26.     During the course of the aforesaid telephone call with Plaintiff,

Defendant stated that if Plaintiff did not pay the Debt, Plaintiff’s “wages would be

garnished.”

      27.     Upon information and belief, Defendant has not filed a lawsuit against

Plaintiff for the Debt.

      28.     Upon information and belief, at the time of making the

aforementioned threat, Defendant had no intention of filing a lawsuit against

Plaintiff for the Debt.

      29.     Upon information and belief, Defendant has no authority to file a

lawsuit against Plaintiff for the Debt.




                                       Page 5 of 9
          Case 3:15-cv-00044-CAR Document 1 Filed 04/14/15 Page 6 of 9




        30.     Upon information and belief, at the time of making the

aforementioned threat, Defendant had no authority to file a lawsuit against Plaintiff

for the Debt.

        31.     At the time Defendant made the aforementioned threat to have

Plaintiff’s wages garnished, no lawsuit had been filed against Plaintiff for the Debt.

        32.     At the time Defendant made the aforementioned threat to have

Plaintiff’s wages garnished, no judgment had been entered against Plaintiff for the

Debt.

        33.     The debt allegedly owed by Plaintiff is not a debt that can proceed to

garnishment without Defendant first having secured a judgment against Plaintiff

for the alleged debt.

        34.     On or about February 11, 2015, Defendant sent Plaintiff a

correspondence dated February 11, 2015, in an attempt to collect the Debt from

Plaintiff.

        35.     In the aforesaid correspondence Defendant sent to Plaintiff, dated

February 11, 2015, Defendant stated: “Commercial Recovery Systems, Inc., will

accept $3,000 as full and final settlement [on the Debt]...In addition, all derogatory

credit information regarding this account will reflect the account to be settled.

Please allow ninety (90) days for credit information to be updated.”

                                       Page 6 of 9
        Case 3:15-cv-00044-CAR Document 1 Filed 04/14/15 Page 7 of 9




      36.    Defendant’s representations, in its correspondence to Plaintiff dated

February 11, 2015, as delineated above, were false, deceptive and misleading given

that, despite the implications to the contrary, Defendant was not reporting the Debt

to any credit reporting agency.

      37.    Defendant’s representations, in its correspondence to Plaintiff dated

February 11, 2015, as delineated above, misrepresented the character, amount,

and/or legal status of the Debt given that despite the implications to the contrary,

Defendant was not reporting the Debt to any credit reporting agency.

      38.    In its attempts to collect the debt allegedly owed by Plaintiff to

National Credit Adjusters, Defendant violated the FDCPA, 15 U.S.C. §1692, in

one or more of the following ways:

             a. Communicated with any person other than the consumer for the
                purpose of acquiring location information about the consumer and
                failed to identify himself, failed to state that he is confirming or
                correcting location information concerning the consumer, and/or
                identified his employer without the express request of the
                consumer in violation of 15 U.S.C. §1692b(1);

             b. Communicated with any person other than the consumer for the
                purpose of acquiring location information about the consumer and
                stating that the consumer owes any such debt in violation of 15
                U.S.C. §1692b(2);

             c. Communicated in connection with the collection of any debt with
                any person other than the consumer, his attorney, a consumer
                reporting agency if otherwise permitted by law, the creditor, the

                                     Page 7 of 9
        Case 3:15-cv-00044-CAR Document 1 Filed 04/14/15 Page 8 of 9




               attorney of the creditor, or the attorney of the debt collector in
               violation of 15 U.S.C. §1692c(b);

            d. Used false, deceptive, misleading and unfair or unconscionable
               means to collect or attempt to collect an alleged debt in violation of
               15 U.S.C. §1692e;

            e. Falsely represented the character, amount, or legal status of any
               debt in violation of 15 U.S.C. §1692e(2)(A);

            f. Represented or implied that nonpayment of any debt will result in
               the arrest or imprisonment of any person or the seizure,
               garnishment, attachment, or sale of any property or wages of any
               person unless such action is lawful and the debt collector or
               creditor intends to take such action in violation of 15 U.S.C.
               §1692e(4);

            g. Threatened to take action that cannot legally or is not intended to
               be taken in violation of 15 U.S.C. §1692e(5);

            h. Used any false representation or deceptive means to collect or
               attempt to collect any debt or to obtain information concerning the
               consumer in violation of 15 U.S.C. §1692e(10);

            i. Used unfair and/or unconscionable means to collect or attempt to
               collect a debt in violation of 15 U.S.C. §1692f;

            j. Was otherwise deceptive and failed to comply with the provisions
               of the FDCPA.

      39.   As a result of Defendant’s violations as aforesaid, Plaintiff has

suffered, and continues to suffer, personal humiliation, embarrassment, mental

anguish and emotional distress.




                                    Page 8 of 9
        Case 3:15-cv-00044-CAR Document 1 Filed 04/14/15 Page 9 of 9




                               V.     JURY DEMAND

      40.   Plaintiff hereby demands a trial by jury on all issues so triable.

                           VI.      PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, BRIAN GREEN, by and through his attorneys,

respectfully prays for Judgment to be entered in favor of Plaintiff and against

Defendant as follows:

            a.    All actual compensatory damages suffered;

            b.    Statutory damages of $1,000.00;

            c.    Plaintiff’s attorneys’ fees and costs;

            d.    Any other relief deemed appropriate by this Honorable Court.

                                                      Respectfully submitted,
                                                      BRIAN GREEN

                                                By:   s/ Scott Fortas
                                                      Attorney for Plaintiff

   Dated: April 14, 2015

   Scott Fortas (Bar No. 269980)
   Fortas Law Group, LLC
   1936 N. Druid Hills Rd., Suite 100B
   Atlanta GA 30319
   Telephone:(404) 315-9936
   Facsimile: (404) 636-5418
   E-Mail: sfortas@fortaslaw.com




                                      Page 9 of 9
